       Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 1 of 23                 FILED
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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


ADTRAV CORPORATION,                  )
                                     )
   Plaintiff/Counterclaim Defendant, )
                                     )
V.                                   ) CASE NO: 2:14-cv-0056-TMP-S
                                     )
DULUTH TRAVEL, INC.,                 )
                                     )
   Defendant/Counterclaim Plaintiff. )

ADTRAV CORPORATION’S RESPONSE TO DULUTH TRAVEL, INC.’S
MOTION FOR CONTEMPT, SANCTIONS, AND ADDITIONAL RELIEF
  PURSUANT TO THE COURT’S ORDER OF NOVEMBER 30, 2015
      COMES NOW ADTRAV Corporation (“ADTRAV”), and in response to

Duluth Travel Inc.’s (“Duluth”) Motion for Contempt, Sanctions, and Additional

Relief (hereafter referred to as “Motion for Contempt”), says as follows:

                                 I. Introduction
      ADTRAV has appropriately responded to Duluth’s discovery request and

has complied with the Court’s November 30, 2015 discovery order. ADTRAV has

produced thousands upon thousands of pages of financial data and reports that

have been provided to Duluth during the more than eight years of the relationship

between ADTRAV and Duluth related to their work on the Veterans’

Administration government contract. Duluth has attempted to cast ADTRAV in a

negative light by an unsupported argument that ADTRAV has not disclosed or
       Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 2 of 23



shared with Duluth certain revenue under the VA Contract. Specifically, Duluth

has filed with the Court a Supplemental Report from its “expert” witness Howard

Zandman, CPA, which purportedly supports Duluth’s position that ADTRAV

withheld, did not disclose and did not share with Duluth approximately $260,000

in hotel commissions.

      Duluth argues that Zandman’s findings are not only fatal to ADTRAV’s

complaint and defense to Duluth’s counterclaims, these findings “illustrate and

confirm that ADTRAV has withheld critical evidence from Duluth and from the

Court, even now under compulsory process.” See Duluth Travel, Inc.’s Motion for

Contempt. (Doc. 75, p. 2 of 17). Duluth argues based upon Zandman’s findings, it

should have access to ADTRAV’s electronic data which would show, based upon

Zandman’s analysis, ADTRAV withheld hotel commissions from Duluth.

      Duluth’s position and argument has been fabricated based upon the work of

Zandman. Duluth apparently takes the position that the best defense is a good

offense and when you don’t have a good offense, you make it up. Zandman’s

Supplemental Report attached to and relied upon by Duluth to support its Motion

for Contempt is so flawed in so many different respects that not only is it

unreliable and in no way supports Duluth’s Motion for Contempt, but also shows

how either inept Zandman is as an accounting expert and/or evidences a conspiracy

of deception between Zandman and Duluth.



                                       2
         Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 3 of 23



        Zandman’s Supplemental Report upon which Duluth relies makes the

following findings: (1) 6,506 individual transactions totaling $189,381 of hotel

commissions were retained by ADTRAV and not shared with Duluth and not

reported to or shared with Duluth and (2) 2,524 individual transactions of hotel

commissions totaling $79,601 were disclosed to Duluth by ADTRAV but were

“misclassified” on ADTRAV’s reports as non-commissionable and therefore not

paid to Duluth. (See Zandman’s Supplemental Report, Doc. 75-1, pp. 3-4 and p.

22 of 390).

        Zandman arrived at these figures by comparing (1) ADTRAV 80622, which

is an Excel spreadsheet of Trams hotel booking data (Trams software is a travel

industry specific accounting system) which ADTRAV produced to Duluth which

contains data of ADTRAV’s hotel booking transactions including travelers name,

confirmation numbers, travel dates, commissions, etc. to (2) reports from third

party payers, primarily Pegasus and TACS, which contain similar hotel booking

data.

        The sole method Zandman used to compare this information was          by

attempting to match confirmation numbers for each transaction. Zandman states

he used this comparison methodology as instructed by Duluth as the best method to

compare the data. (Doc. 75-1, p. 5 of 390). In arriving at his conclusion that

ADTRAV retained $189,380 in hotel commissions that ADTRAV did not report to



                                       3
       Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 4 of 23



Duluth, Zandman concluded if he could not match a confirmation number between

Pegasus, TACS and other third party payers and ADTRAV’s Trams data,

ADTRAV withheld the hotel commissions. If he could not match confirmation

numbers, he did not attempt to reconcile the reports by using any other data such as

passenger name but simply concluded if a confirmation number from Pegasus,

TACS or other third party sources was not matched on the Trams data, ADTRAV

did not disclose the hotel commission and improperly retained the commission.

Specifically, Zandman states in his supplement report:

            I imported the Trams data, as well as the detailed third party
            data, into a database management software and related all of the
            data to each other within the created database based on
            confirmation numbers. I then compared confirmation numbers
            between the third party data and the Trams data, to see which of
            those confirmation numbers did not appear on the Trams. That
            would indicate the existence of unreported commissions
            earned under the contract but not reported and/or paid by
            ADTRAV to Duluth.”

(Zandman Supplemental Report, Doc. 75-1, pp. 5-6 of 390) (emphasis added). So,

if Zandman could not match confirmation numbers, he concluded unreported

commissions. The below shows Zandman’s analysis is not only incorrect but also

how dangerous an “expert” like Zandman is to the judicial process.

II.   Zandman’s Supplemental Report is so flawed as to be completely
      unreliable.
      The following are examples showing the major flaws in Zandman’s

Supplemental Report, which renders his report useless and incapable of providing


                                         4
          Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 5 of 23



support for Duluth’s Motion for Contempt1:

      •       Trailing zeros leading to unmatched confirmation numbers.               On

              Schedule 4, Zandman concludes from his comparison of unmatched

              confirmation numbers from ADTRAV’s Trams data to the Pegasus

              ARC 016 Part 1 data, ADTRAV withheld $4,427.22 in hotel

              commissions from Duluth. (See Doc. 75-1, p. 22 of 390). The data

              relied upon by Zandman from the Pegasus ARC 016 Report is listed

              on Schedule 5 of his supplemental report. (See Doc. 75-1, pp. 24-30

              of 390). As is apparent from the confirmation numbers listed on

              Schedule 5, many of the confirmation numbers end in a zero.

              Apparently, unbeknownst to Zandman, the confirmation numbers in

              this Pegasus data in Schedule 5 contain trailing zeros that are not

              contained in the Trams data. (Affidavit of Roger Hale, ¶ 3).2 As

              such, these confirmation numbers will not match.

              ADTRAV’s sampling shows several of the travelers listed on

              Schedule 5 are also listed on the Trams data when the trailing zero is

              removed from the Pegasus confirmation number. (Affidavit of Roger

              Hale, ¶ 3, Exhibit 1). Zandman’s opinion that ADTRAV withheld


1
  ADTRAV has not attempted to completely recreate Zandman’s analysis but has shown samples
of his flawed methodology and incorrect results.
2
  The Affidavit of Roger Hale is attached as Exhibit A.

                                            5
    Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 6 of 23



        these commissions is incorrect. It is important to understand what

        Zandman has done here. Zandman did not realize, or realized but

        ignored, that certain Pegasus data contain trailing zeros would lead to

        confirmation numbers not matching in Trams simply because of the

        extra zero. As a result, he has concluded and represented to the Court

        through Duluth that ADTRAV withheld hotel commissions when

        undisputedly ADTRAV did not. It is hard to imagine that Duluth,

        being in this travel industry for such a long time, was not aware of the

        trailing zeros on Pegasus’ confirmation numbers and allowed

        Zandman to go forward with his incorrect analysis.

•       Hotels use different confirmation numbers.           Hotel commission

        payment consolidators (such as Pegasus and TACS) often use

        different confirmation numbers than the confirmation numbers

        provided by the hotel at the time of the booking. (Affidavit of Roger

        Hale, ¶ 4).   Again, it is inconceivable that Duluth did not have

        knowledge of this fact. Yet, Zandman jumped to the conclusion that

        simply because confirmation numbers between Pegasus and TACS

        did not match the confirmation numbers on the ADTRAV Trams data,

        ADTRAV was withholding commissions from Duluth.




                                    6
Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 7 of 23



    Confirmation numbers for Hyatt Hotels, which pays through TACS,

    most often do not match what is in the Trams data. (Id.).         The

    confirmation numbers in Trams for Hyatt Hotel typically begin with

    HY000 and TACS uses a completely different confirmation number.

    (Id.).   Exhibit 2 to the Affidavit of Roger Hale show multiple

    examples of confirmation numbers for certain Hyatt Hotels’ travelers

    contained on the TACS data used by Zandman with matching entries

    on ADTRAV’s Trams data but with different confirmation numbers.

    Wyndham Hotels’ confirmation numbers in Trams have a different

    sequence than what was used in Pegasus. (Id., ¶ 4). Attached as

    Exhibit 3 to Roger Hale’s Affidavit are examples of travelers

    contained in Zandman’s schedules in which he purports to not match

    with Wyndham Hotel travelers in ADTRAV’s Trams data. As is

    apparent, the identical travelers from the Pegasus data used by

    Zandman with the identical hotel commission amount paid are

    included on ADTRAV’s Trams report. Other examples are Kimpton

    Hotels and Omni Hotels.         Kimpton Hotels also have a different

    confirmation number sequence than what is used in Pegasus. (Id., ¶ 5).

    Kimpton Hotels is a chain of boutique hotels owned by the same

    entity. They are booked under the same “brand” but represent a



                                7
    Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 8 of 23



        number of different brands such as Hotel Palomar and Hotel Monaco.

        (Id.). The confirmation numbers for Kimpton Hotels’ bookings in

        Trams all begin with a “CI,” which is vastly different from the

        confirmation number sequence Pegasus uses. (Id.).

        Omni Hotels’ confirmation numbers in Trams also have a different

        sequence than what was used in Pegasus. (Id., ¶ 6). Attached as

        Exhibits 4 and 5 to Roger Hale’s Affidavit are examples relating to

        Kimpton and Omni Hotels showing that Zandman again incorrectly

        concluded ADTRAV withheld commissions from Duluth simply

        because Zandman could not properly match the data. As is apparent,

        Pegasus and TACS frequently use different confirmation numbers

        than what appears in the hotel booking data in Trams. (Id.).

        ADTRAV’s sample analysis clearly shows that multiple travelers

        staying at a Hyatt Hotel, Wyndham Hotel, Kimpton Hotel and/or

        Omni Hotel are matched between ADTRAV’s Trams data and the

        data used by Zandman, proving Zandman’s analysis of ADTRAV

        withholding hotel commissions is incorrect. (Id.).

•       Use of confirmation numbers “Multiple” and “(blank)”. Throughout

        Zandman’s schedules indicating non-matched confirmation numbers

        and resulting unpaid commissions are line items containing


                                    8
    Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 9 of 23



        confirmation numbers and passenger names as “Multiple” as well as

        confirmation numbers that say “(blank)”. (See e.g., Doc. 75-1, pp.

        136-137; 149-155). Of course, such items are not going to match any

        confirmation number on ADTRAV’s Trams data.            Yet, Zandman

        concluded hotel commissions for travelers with these “Multiple” and

        “(blank)” confirmation numbers listed on third party data as being

        withheld by ADTRAV and not paid to Duluth when he knew such

        confirmation numbers would not match the Trams data.

•       Zandman’s inclusion of rental car commissions. On Schedule 9 of

        Zandman’s Supplemental Report, multiple line items contain

        confirmation numbers that begin with “NTSD”. (See e.g., Doc. 75-1,

        pp. 164, 165, 173, 176-179). These confirmation numbers are for car

        rental commissions.     (Affidavit of Roger Hale, ¶ 7).         Such

        confirmation numbers would, of course, not match with anything on

        ADTRAV’s Trams data as the Trams data contains information solely

        relating to hotel bookings. Attached as Exhibit 6 to the Affidavit of

        Roger Hale are samples of the NTSD confirmation numbers in

        Zandman’s schedules.

•       Zandman’s double counted hotel commissions. Possibly the most

        incredible part of Zandman’s analysis is shown on Schedule 4 to his


                                   9
Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 10 of 23



     report where he duplicates purported “unreported commissions” and

     “misclassified commissions” related to Hilton ARC 119 and Hilton

     ARC 119 Supplemental. Zandman concludes ADTRAV did not pay

     Duluth hotel commissions listed on Hilton ARC 119 and Hilton ARC

     119 Supplemental because he could not find confirmation number

     matches with ADTRAV’s Trams data. Notwithstanding the fact that

     Zandman is incorrect that ADTRAV withheld these commissions paid

     by Hilton, Zandman double-dipped as the confirmation numbers on

     Hilton ARC 119 and Hilton ARC 119 Supplemental are identical for

     almost every transaction.

     For example, Schedules 13 and 14 to Zandman’s Supplemental Report

     contain data for Hilton Hotels ARC 11970965 including confirmation

     numbers, commissions and commissions paid. (Doc. 75-1, pp. 229-

     237 of 390). Schedule 14 is apparently Hilton Hotel’s ARC 11970965

     (Supplemental) (See Doc. 75-1, p. 238-246 of 390).           Although

     Zandman claims in his report he compared the data to ensure the same

     confirmation number was not duplicated, he completely failed to do

     so as the confirmation numbers listed on Schedule 13 are identical to

     those listed on Schedule 14 other than three additional line items that

     appear on Schedule 14.      Not only are the confirmation numbers



                                 10
Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 11 of 23



     identical but the amounts of commission paid are identical to the

     confirmation numbers on each schedule. This “mistake” is even more

     glaring when on Schedule 4 of Zandman’s report (Doc. 75-1, p. 22 of

     the identical commission amount to the penny for 2010 is listed for

     Hilton ARC 119 and Hilton ARC 119 Supplemental ($2,786.65). In

     other words, Zandman added $2,786.65 twice in arriving at his total

     claimed hotel commission dollars withheld by ADTRAV.

     Zandman did the same double-dipping for the Hilton ARC 119 and

     Hilton ARC 119 Supplemental under “Misclassified Commissions in

     Trams” on Schedule 4. A comparison of Schedules 18 and 19 show

     the same confirmation numbers and commission amounts. (Doc. 75-

     1, pp. 256-272 of 390). Moreover, on Schedule 4 to Zandman’s

     Supplemental Report, the commission amounts allegedly retained by

     ADTRAV and improperly not paid to Duluth in 2010 are again

     identical to the penny between Hilton ARC 119 and Hilton ARC 119

     Supplemental ($3,370.28). Out of the approximately $260,000 in

     hotel commissions Zandman improperly claims were not paid to

     Duluth by ADTRAV, over $28,000 of those dollars were improperly

     included in the amount by clear duplication by Zandman.       (See

     Schedule 4).



                               11
Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 12 of 23




•    Zandman’s improper inclusion of 2014 hotel commissions. Zandman

     acknowledges in his supplemental report that beginning in 2014

     Duluth controlled the accounting for the VA account. (See Doc. 75-1,

     p. 5 of 390). After this point, ADTRAV no longer received Pegasus

     remittance information from Duluth. (Affidavit of Roger Hale, ¶ 8).

     In addition, TACS deposits were no longer made into the joint

     account and ADTRAV did not receive remittance information from

     TACS (except for approximately $1,300). (Id.).      As such, after

     January 17, 2014, ADTRAV did not reconcile any hotel commission

     payments as it did not receive any money nor the remittance

     information. (Id.). How could ADTRAV withhold hotel commissions

     from Duluth when ADTRAV never received these commissions? As

     shown in Schedule 4 of Zandman’s report, he includes $27,081 in

     “unreported commissions” for the year 2014 and $32,579 for

     “misclassified commissions” for 2014. There would not be matching

     confirmation numbers in the Pegasus/TACS or other third party

     information used by Zandman in his analysis with ADTRAV’s Trams

     for almost all of 2014 as ADTRAV did not receive the payments nor

     any commission data from Duluth and thus did not reconcile anything

     after January 17, 2014. For example, of the $9,860.74 Zandman has


                               12
       Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 13 of 23



             calculated on Schedule 4 as unreported commissions in 2014 related

             to Hilton ARC 119, all but $128.29 relate to commissions after

             January 17, 2014. (See Doc. 75-1, pp. 232-237 of 390). Zandman

             knew Duluth handled the accounting in 2014 and ADTRAV was no

             longer providing reservation services after January 17, 2014. The fact

             that Zandman included in his analysis, and Duluth allowed, 2014 hotel

             commission amounts that both knew would not match with

             ADTRAV’s Trams data shows more than just incompetency.                  It

             shows a deliberate attempt to reach a false conclusion that ADTRAV

             withheld hotel commissions.

      •      Duluth controlled all of the Pegasus ARC 119 hotel commission

             dollars. This one is the real kicker. Every hotel commission dollar

             related to Pegasus ARC 119 was paid into a bank account wholly

             owned and controlled by Duluth. (Affidavit of Roger Hale, ¶ 9). It

             would have been impossible for ADTRAV to withhold from and not

             share with Duluth these alleged unreported or misclassified hotel

             commission dollars when these commissions were sitting in Duluth’s

             bank account to which ADTRAV had no access. (Id.).3


3
 According to Zandman’s Supplemental Report, $127,573.92 was related to Pegasus ARC 119
and allegedly withheld by ADTRAV. This amount is approximately 50% of the total hotel
commissions Zandman claims were withheld by ADTRAV and not shared with Duluth.

                                          13
       Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 14 of 23




       •      Duluth failed to provide ADTRAV with certain Pegasus data. All

              remittance information from Pegasus went directly to Duluth.

              (Affidavit of Roger Hale, ¶ 10). ADTRAV relied solely on Duluth to

              report the total amount of Pegasus payments and to provide the

              detailed backup required to reconcile the account. (Id.). Attached as

              Exhibit 7 to the Affidavit of Roger Hale is a list of payments that

              appear in the Pegasus data produced in this case of which ADTRAV

              has no record. (Id.). As a result, these hotel commission amounts

              would never have been reconciled in Trams, resulting in Zandman not

              finding a matching confirmation numbers. (Id.).                This $20,910

              represents hotel commissions paid by Pegasus into the Duluth account

              that Duluth never disclosed to ADTRAV. (Id.).                   Duluth owes

              ADTRAV its percentage split of these hotel commissions. (Id.).

       •      Inability to match confirmation numbers. It is not uncommon in using

              the reconciliation process that hotel commissions cannot be matched

Additionally, prior to mid-June 2010, all TACS payments for ARC 11970965 (“TACS ARC
119”) were also deposited into Duluth’s bank account to which ADTRAV had no access. After
mid-June 2010, the TACS ARC 119 payments were deposited into a joint account owned and
controlled by ADTRAV and Duluth. Duluth had access to information showing all deposits into
the joint account and approval of all funds disbursed from the joint account. Including Hilton
ARC 119 which is also paid through TACS, based upon Schedule 4 of Zandman’s Supplemental
Report, another approximate $108,000 was related to TACS ARC 119 and allegedly withheld by
ADTRAV. Adding this amount to the amount Zandman claims was allegedly withheld by
ADTRAV that was deposited into Duluth’s account relating to Pegasus ARC 119, almost 90% of
the hotel commissions Zandman claims were withheld by ADTRAV from Duluth were deposited
into either a Duluth bank account or a joint bank account controlled by Duluth and ADTRAV.

                                             14
      Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 15 of 23



            to a specific hotel booking within Trams. (Id., ¶ 12). Electronic

            remittance of hotel commissions is vouchered on an unreconciled

            account. (Id.). The money was identified and included on the monthly

            reconciliations and splits between ADTRAV and Duluth. (Id.).

            Duluth had full knowledge of unreconciled hotel commissions as each

            month ADTRAV sent reports showing non-reconcilable hotel

            commissions that were split between ADTRAV and Duluth. (Id.).

            Attached as Exhibit 9 to the Affidavit of Roger Hale is a sample of a

            monthly commission report sent to Duluth. (Id.).            On page

            MONTHLY ADTRAV 032153 the lines entitled “Research/NONE”

            show hotel commissions that could not be reconciled that were in the

            bank accounts and divided between Duluth and ADTRAV. (Id.).

                   III.   Zandman’s prior similar “Errors.”
      As shown above, Zandman and Duluth have completely failed in their

attempt to prove ADTRAV did not disclose and share certain hotel commissions

with Duluth. As stated earlier, the fact that Duluth allowed Zandman to engage in

his analysis by only using confirmation number comparisons when Duluth must

have known of the multiple pitfalls with this method calls into question Duluth’s

and Zandman’s intent to search for the truth in this case. Zandman’s “mistakes” as

pointed out above are pervasive through his entire report rendering his report



                                       15
       Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 16 of 23



unreliable at best and deceptive at worst. Zandman’s Supplemental Report is not

the first occasion in this case where his analysis has led to the improper conclusion

that ADTRAV was not reporting and paying revenue to Duluth.

      In his initial expert report, Zandman accused ADTRAV of not reporting and

sharing with Duluth commissions and other travel revenue based upon Zandman’s

now admitted “mistake” in his method. In his initial report, Zandman accused

ADTRAV of not reporting VA travel revenue when he compared travelers’ names

that appeared on an alleged improper ADTRAV ARC number to names listed on

Duluth’s CBA Reports.       Zandman concluded that the identical matches from

ADTRAV’s ARC Reports and Duluth’s CBA Reports indicated commissions and

travel moneys paid to ADTRAV that were not shared with Duluth.

      However, when ADTRAV investigated this allegation, it found that the

individuals listed on ADTRAV’s ARC Reports and Duluth’s CBA Reports for

whom Zandman contended Duluth was not paid ticket or commission revenue

were included on the Net Remit Reports sent to Duluth from ADTRAV, proving

ADTRAV did report to and share with Duluth this revenue. Specifically, in his

Supplemental Expert Report, Zandman admits as follows:

             In my initial report, I identified 65 identical name matches
             between the Duluth CBA reports and the ADTRAV ARC 016
             report. During my deposition on December 18, 2015, I was
             asked if the identified names and ARC 016 transactions were
             reported to Duluth on the weekly net remit reports. I have since
             reviewed the data, and discovered that all of the names on the

                                         16
       Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 17 of 23



             ARC 016 report, ADTRAV’s own/not shared number, appear
             on a weekly net remit report at some time. In fact, some of the
             specific transactions, as pointed out by Mr. Cate in my
             deposition on December 18, 2015, were reported as transactions
             to Duluth and split accordingly.

(Doc. 75-1, p. 11 of 390).

       It appears every time Zandman attempts to make a comparison between or

among reports, he “misses” important data that renders his analysis false,

untrustworthy and worthless. This is not a situation where an accounting expert

has adopted a certain theory of calculating figures and an accountant on the other

side of the case arrives at a different calculation based upon a different theory.

This is a case where Zandman is just wrong in his own analysis. He consistently

misses data that is right in front of his face. Worse, Duluth adopts Zandman’s

incorrect findings and represents to the Court the correctness of the findings.

Duluth has relied upon Zandman’s incorrect analysis to fabricate a discovery

dispute and attempt to collect money from ADTRAV in its counterclaim.

Zandman’s entire analysis is untrustworthy and cannot be relied upon.


 IV.    Duluth’s claim of unreported hotel commissions based upon Duluth’s
              claim of increased hotel bookings is false and unreliable.
       In his Supplemental Report, Zandman lists the dollar figure amount of hotel

bookings from 2007 through 2013 when ADTRAV was in charge of the

accounting. Zandman then represents since Duluth took over the accounting in

2014 and 2015, the hotel bookings have doubled, suggesting that ADTRAV

                                        17
      Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 18 of 23



underreported hotel bookings and consequently commissions owed to Duluth.

Again, Zandman’s accounting on this issue is untrustworthy.         Even though

ADTRAV terminated reservation services due to Duluth’s lack of payment

effective January 17, 2014, Duluth did not shut down its interface connection for

VA bookings to ADTRAV’s Trams database until May 27, 2014. (Affidavit of

Roger Hale, ¶ 11).

      After receipt of Zandman’s Supplemental Expert Report, ADTRAV ran a

report using this data from January to May 2014 which showed the VA had booked

approximately $4.5 million of hotel bookings through Duluth during this time

period. (Id.). ADTRAV then ran a similar report from January to May for 2011,

2012 and 2013 to compare to the January – May 2014 time period. (Id., ¶ 11 and

Exhibit 8). The hotel bookings made by the VA during the January – May time

period for 2011, 2012 and 2013 represented between approximately 42%-45% of

the full year hotel bookings for those years. (Id). This makes sense as January –

May 2014 represents 42% of a full year.

      Based on this analysis, it would be expected that the January – May 2014

hotel bookings would represent approximately 42% of the total 2014 hotel

bookings. (Id., ¶ 8). Zandman claims a total of approximately $16 million in total

hotel bookings for the year 2014. The actual hotel bookings from January through

May 2014 represent 28% of the full year hotel bookings Zandman claims were



                                          18
       Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 19 of 23



made by the VA through Duluth in 2014. (Id.).           The $16 million Zandman

calculates for total hotel bookings for 2014 is not even in the realm of possibility.

(Id.). If Zandman is to be believed, 72% of all hotel bookings made by the VA

through Duluth in the year 2014 occurred in June through December 2014. (Id.).

      It appears obvious Zandman has made another one of his “mistakes.” He

likely has either double counted hotel bookings or included all of Duluth’s

customers’ hotel bookings, not just VA customers, in this total. Based upon

ADTRAV’s analysis and Zandman’s history of errors, mistakes and/or

misrepresentations, Zandman’s calculations regarding 2014 and 2015 VA hotel

bookings for Duluth should be disregarded.


                              V.    Discovery status.

      Prior to April 4, 2016 when Duluth filed its Motion for Contempt, ADTRAV

was not made aware by Duluth of any outstanding discovery issues with regard to

the Court’s November 30, 2015 discovery order. Obviously, the entire basis for

Duluth’s Motion for Contempt is Zandman’s Supplemental Report, which has been

shown to be (1) riddled with mistakes, (2) based upon an analysis method that was

known or should have been known to be incorrect, (3) untrustworthy, and (4)

potentially the product of intentional deceit. Zandman’s Supplemental Report does

not support Duluth’s Motion for Contempt, yet is the reason Duluth has at this late

stage attempted to revisit the Court’s November 30, 2015 discovery Order.


                                         19
       Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 20 of 23



      ADTRAV has complied with the Court’s November 30, 2015 discovery

order. The fact that ADTRAV has conceded from the beginning that it cannot

locate certain documents requested is not going to change.           ADTRAV has

produced thousands and thousands of pages of reports and the fact that ADTRAV

could not find certain reports for limited time periods does not indicate any attempt

of deception.

      Duluth acknowledges that in response to the Court’s November 30, 2015

discovery order ADTRAV provided a list of VA and non-VA deposits to

individually held bank accounts. Duluth then states in its Motion for Contempt:

             It is impossible for Duluth to reconcile which deposits pertain
             to VA revenue from the information provided. ADTRAV
             contends that it too is unable to separate VA commission
             deposits from commission deposits from other sources. One
             might wonder how then, ADTRAV was ever able to determine
             the volume of VA revenue that was to be divided between the
             parties.

(Doc. 75, p. 16 of 17). The answer as to how ADTRAV was able to determine the

volume of VA revenue that was to be divided between the parties is, of course,

known to Duluth. The VA revenue that was to be divided between the parties was

shown in both weekly and monthly reports sent to Duluth from ADTRAV that

broke down every type of revenue received from the VA account with the detailed

backup supporting the calculations. This information is included in the thousands




                                         20
           Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 21 of 23



and thousands of pages produced to Duluth by ADTRAV, which Duluth already

had in its possession.

       The fact that ADTRAV was unable to separate VA commission deposits

from other sources when it produced its bank account information in no way means

ADTRAV was not able to determine the volume of VA revenue divided between

the parties on a weekly and monthly basis. Duluth knows this. But just for the

Court’s edification, attached to this Response Brief as Exhibit B is a sample of one

of the emails sent from ADTRAV to Duluth showing revenue splits and the

detailed backup supporting the splits that Duluth reviewed prior to agreeing to the

splits.4


                                 VI.    CONCLUSION

       Based upon the above, ADTRAV submits Duluth’s Motion for Contempt is

due to be denied. Additionally, ADTRAV requests the Court to consider the

myriad of “mistakes,” and/or deceits contained in Zandman’s Supplemental Report

when the Court rules upon ADTRAV’s motion to exclude the testimony of

Zandman. (Doc. 64). Zandman’s reports are so unreliable and flat out wrong that

he should be excluded from giving opinions based upon his reports. His reports

are so faulty and based upon incorrect data and methodology that his testimony


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  Only the first page of some of the reports are attached as some reports contain hundreds of
pages of backup data supporting the revenue splits.

                                             21
       Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 22 of 23



would be unreliable and certainly not help the trier of fact to understand the

evidence or determine any factual issue.

                                           Respectfully submitted,

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                                           22
          Case 2:14-cv-00056-TMP Document 77 Filed 04/18/16 Page 23 of 23




                          CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2016, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will send notification of
such filing to the following:

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                                        23
